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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

SEAN VISINTAINER,
Plaintiff,
Case No.
V.
ROBERT MALLORY ROOFING INC.,
a Florida for Profit Corporation; and

ROBERY MALLORY, individually,

Defendants.

 

VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, SEAN VISINTAINER, (‘Plaintiff’), files this Complaint against Defendants,

ROBERT MALLORY ROOFING INC., a Florida for Profit Corporation, and ROBERT

MALLORY, Individually (collectively “Defendants”’), and states as follows:

INTRODUCTION

1. Congress designed the Fair Labor Standards Act of 1938 (“FLSA”) to remedy

situations “detrimental to the maintenance of the minimum standard of living necessary for

health, efficiency, and general well-being of workers.” 29 U.S.C. § 202(a).

2. To achieve its purposes, the FLSA requires three things. First, the FLSA requires

payment of minimum wages. 29 U.S.C. § 206(a). Second, the FLSA requires overtime pay for a

covered employer whose employees work in excess of forty (40) hours per workweek. 29 U.S.C.

§ 207(a). And third, the FLSA establishes minimum recordkeeping requirements for covered

employers. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2(a)(7).
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3. Plaintiff alleges pursuant to the FLSA, 29 U.S.C. § 216(b), that he is (i) entitled to
unpaid wages from Defendants for overtime work for which he did not receive overtime premium
pay, as required by law, (ii) entitled to liquidated damages pursuant to the FLSA, 29 U.S.C. §§201
et seq.; and (iii) declaratory relief pursuant to 28 U.S.C. §2201.

JURISDICTION

4. Jurisdiction in this Court is proper as the claims are brought pursuant to the FLSA,
as amended (29 U.S.C. §201, et seq.) (“FLSA”) to: (i) obtain a judgment against Defendants as
to liability; (ii) recover unpaid back wages; (iii) recover an additional equal amount as liquidated
damages; and (iv) reasonable attorneys’ fees and costs.

5. The jurisdiction of the Court over this controversy is proper pursuant to 28 U.S.C.

§ 1331 as the FLSA claims arise under 29 U.S.C. §216(b).
6. Venue is proper as the acts and omissions giving rise to Plaintiff's claims occurred

in Charlotte County, Florida.

PARTIES
7. At all times material to this action, Plaintiff was a resident of Charlotte County,
Florida.
8. At all times material to this action, ROBERT MALLORY ROOFING INC. was,

and continues to be, a Florida profit corporation. Further, at all times material to this action,
ROBERT MALLORY ROOFING INC. was, and continues to be, engaged in business in Florida,
with a principal place of business in Charlotte County, Florida.

5. Upon information and belief, at all times material to this action, Defendant,
ROBERT MALLORY was and continues to be a resident of Charlotte County, Florida.

6. At all times material to this action, Defendant, ROBERT MALLORY regularly
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held and/or exercised the authority to hire and fire employees of ROBERT MALLORY

ROOFING INC.

7. At all times material to this action, Defendant, ROBERT MALLORY regularly

held and/or exercised the authority to determine the work schedules for the employees of

ROBERT MALLORY ROOFING INC.

8. At all times material to this action, Defendant, ROBERT MALLORY regularly
held and/or exercised the authority to determine the pay rates for the employees of ROBERT
MALLORY ROOFING INC.

9. At all times material to this action, Defendant, ROBERT MALLORY regularly
held and/or exercised the authority to control the finances and operations of ROBERT
MALLORY ROOFING INC.

10. By virtue of having held and/or exercised the authority to: (i) hire and fire
employees of ROBERT MALLORY ROOFING INC.; (ii) determine the work schedules for the
employees of ROBERT MALLORY ROOFING INC., (iii) determine the rates of pay for
employees of ROBERT MALLORY ROOFING INC.; and (iv) control the finances and
operations of ROBERT MALLORY ROOFING INC., Defendant, ROBERT MALLORY, is an

employer as defined by 29 U.S.C. §201 ef. seq.

FLSA COVERAGE
12. At all times material to this action, Plaintiff was an “employee” of Defendants
within the meaning of the FLSA.
13. At all times material to this action, Defendants were Plaintiff's “employers” within

the meaning of the FLSA.

14. At all times material hereto, Defendant, ROBERT MALLORY ROOFING INC.,
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was, and continues to be, an “enterprise engaged in commerce” within the meaning of the FLSA
by virtue of its routine utilization of supplies and materials that originated outside the state of
Florida.

15. The supplies and materials that Defendants _utilized to run its business previously
traveled in interstate commerce.

16. At all times material to this action, Defendants had two (2) or more employees
who regularly handled products and equipment, including tools, supplies, materials, and other
equipment, which had previously moved through interstate commerce, during performance of
their duties, including, inter alia equipment and supplies used directly in furtherance of
Defendants’ commercial activity of repairing, installing, and tearing off roofs.

17. Based upon information and belief, the annual gross revenue of Defendant
ROBERT MALLORY ROOFING INC. was in excess of $500,000.00 per annum at all times
relevant hereto.

18. At all times material hereto, Plaintiff was “engaged in commerce” and was subject
to individual coverage of the FLSA, by virtue of his regular and recurrent handling of equipment
that had previously traveled in interstate commerce.

19. At all times material hereto, the work performed by Plaintiff was directly essential
to the business performed by Defendants.

20. At all times material hereto, Defendant was an enterprise covered by the FLSA.

STATEMENT OF FACTS

21. Beginning on or about July 2019 through on or about October 2019, Defendants

employed Plaintiff as a non-exempt, hourly-paid employee.

22. Plaintiff's duties included the repairing, installing, and tearing off of roofs.
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23. Plaintiff was paid an hourly wage.

24, Plaintiff worked for Defendants in excess of forty (40) hours within one or more
workweeks.

25. From the beginning of his employment through October 2019, Defendants failed
to compensate Plaintiff at a rate of one and one-half times Plaintiffs regular rate for all hours
worked in excess of forty (40) hours in a single workweek.

26. Plaintiff should be compensated at the rate of one and one-half times his regular
rate for those hours that he worked in excess of forty (40) hours per week, as required by the
FLSA.

27. Defendants have violated Title 29 U.S.C. § 207 from on or about July 2019
through on or about October 2019, in that:

a. Plaintiff worked in excess of forty (40) hours during most weeks for the
period of his employment with Defendants,

b. No payments, and/or provisions for payment, have been made by
Defendants to properly compensate Plaintiff at the statutory rate of one
and one-half times his regular rate for those hours worked in excess of
forty (40) hours per work week as provided by the FLSA; and

c, Defendants failed to maintain proper time records as mandated by the
FLSA.

COUNT I

FAILURE TO PAY OVERTIME COMPENSATION IN
VIOLATION OF 29 U.S.C. §207

1. Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1 -

27 as if fully set forth herein.
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12. Plaintiff was employed by Defendants from approximately July 2019 through on
or about October 2019 as an hourly paid, non-exempt, roofer.

13, Plaintiff worked in excess of the forty (40) hours per week for which Plaintiff was
not compensated at the statutory rate of one and one-half times Plaintiffs regular rate of pay.

14. Plaintiff was, and is entitled to be paid at the statutory rate of one and one-half
times Plaintiffs regular rate of pay for those hours worked in excess of forty (40) hours.

15. At all times material hereto, Defendants failed and continues to fail, to maintain
proper time records as mandated by the FLSA.

16. | Defendants’ actions in this regard were willful and/or showed reckless disregard
for the provisions of the FLSA as evidenced by its continued failure to compensate Plaintiff at the
statutory rate of one and one-half times Plaintiff's regular rate of pay for the hours worked in
excess of forty (40) hours per weeks when they knew, or should have known, such was, and is
due.

17. Defendants have failed to properly disclose or apprise Plaintiff of Plaintiff's rights
under the FLSA.

18. Due to the intentional, willful, and unlawful acts of the Defendants, Plaintiff
suffered and continues to suffer damages and lost compensation for time worked over forty (40)
hours per week, plus liquidated damages.

19. Plaintiff is entitled to an award of reasonable attorney’s fees and costs pursuant to
29 U.S.C. §216(b).

WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor
against Defendants:

a. Awarding Plaintiff overtime compensation in the amount due to him for
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Plaintiff's time worked in excess of forty (40) hours per work week while

employed by Defendants;

b. Awarding Plaintiff liquidated damages in an amount equal to the overtime
award;

c. Awarding Plaintiff pre-judgment and/or post-judgment interest;

d. Declaring, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and
practices complained of herein are in violation of the overtime wage
provisions of the FLSA; Defendants failed to keep accurate time records;
Defendants have a legal duty to pay Plaintiff overtime wages pursuant to the
FLSA; Defendants failed to prove a good faith defense; and Plaintiff is
entitled to overtime wages, liquidated damages, and reasonable attorneys’
fees pursuant to the FLSA;

e. An award of costs and expenses of this action together with reasonable
attorneys’ and expert fees; and

f. Ordering any other further relief the Court deems just and proper.

JURY DEMAND

Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.

Dated this (Len day of December, 2019.

Respectfully Submitted,

/s/ Natalie Staroschak

Natalie Staroschak

FL Bar No.: 116745
MORGAN & MORGAN, P.A.
8151 Peters Road

Suite 4000

Plantation, FL 33324

 
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